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                                                                        U.S. DISTRICT COURT E.D.N.Y.
        F.#2015R00471/OCDETF #NY-NYE-777
                                                                        ^ FEB 07 2020 ic
        UNITED STATES DISTRICT COURT
        EASTERN DISTRICT OF NEW YORK                                    BROOKLYN OFFICE
                                                   X

        UNITED STATES OF AMERICA                             SUPERSEDING
                                                             INDICTME.NT
                 -* against-                                            ■j S. L;

                                                             Cr, No. lSr208 rS-31fFB1
        RAFAEL CARO QUINTERO,                                (T; 18. U.S.C., §§ 924(c)(lXA)Ci),
           also known as **RCQ,""Cesar,"                      924(o)(l)(A)(ii).924(c)(l)(A)(iii).
           ^Don Rafa," ^Rafa,"     Senor,""28,"               924(d)(1), 3238,2 and 3551 et sea.; T. 21,
           'Rl,""Compa,"       Hombre,"'R1                    U.S.C., §§ 848(a), 848(b), 848(c), 853(a),
           Pleve,"*R1 Canoso,"     Crespo" and                853(p), 959(d), 960(b)(1)(A),
           "the Old Man,"                                     960(b)(l)(B)(ii), 960(b)(1)(G),
        ISMAEL QUINTERO ARELLANES,                            960(b)(l)(I(), 963 and 970; T. 28, U.S.C.,
          'also known as *Rierro,"                            § 2461(c))'          '




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                                 Defendants.                                                -'il          ro
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    THE GRAND JURY CHARGES:

                                             INTRODUCTION


                      At all times relevant to this Superseding Indictment, unless otherwise

    indicated:
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                 1.     From at least January 1980 until June 2018,the defendants RAFAEL.

   CARO QUINTERO,also known as "RCQ,""Cesar,"'T)on Rafa,""Rafa,"'*B1 Senor,""28,'
   "Rl,""Compa,""El Hombre,""El Pleve,"'*E1 Canoso,""El Crespo" and "the Old Man,"
   ISMAEL QXJINTERO ARELLANES,also known as "Fierro,"




                  ^ere members of an international drug trafficking organization led by

   RAFAEL CARO QUINTERO (the "Caro Quintero DTO").

                 2.     The Caro Quintero DTO operated a vast network responsible for the
   manufacture and importation ofnarcotics, specifically multi-ton quantities ofheroin,
   methamphetamine and marijuana, from Mexico into the United States and elsewhere. The
   Caro Quintero DTO also was responsible for the shipment of multi-ton quantities of cocaine
   from South America through Central America and Mexico to the United States and
   elsewhere. The vast majority of drugs trafficked by the Caro Quintero.DTO were imported
   into the United States, where the drugs were consumed. The Caro Quintero DTO used
   corruption as a means and method ofachieving its goals.
                 3.     The Caro Quintero DTO's drug sales in th§ United States generated
   millions of dollars in profit. The drug proceeds were laundered back to Mexico; often,the
   drug money was physically transported from the United States to Mexico through clandestine
   means.
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                 4.      The Caro Quintero DTO had an organizational structure that included:

   (a)the leadership ofthe Caro Quintero DTO,who were the ultimate decision makers in the
   organization with respect to its drug trafficking and money laundering activities, as well as
   the corruption and enforcement activities undertaken to preserve and protect its illegal
   activities;.(b)security personnel, who protected the leadership ofthe Caro Quintero DTO and
   engaged in violent acts to further the goals ofthe organization;(c)plaza bosses, who
   controlled certain territories for the Caro Quintero DTO and were responsible for

   transporting drugs through those territories;(d)transporters, such as boat crews,pilots and
   truck drivers, who transported drugs from Colombia through Mexico and into the United
   States; and(e)money launderers, who tunneled drug proceeds from ie United States back to
   Mexico.

                 5.     The leaders ofthe Caro Quintero DTO employed "sicarios," or hitmen,

   who carried out numerous acts of violence,'including murders, assaults, kidnappings and acts

   oftorture. The leaders ofthe Caro Quintero DTO directed and ordered these acts of
   violence for a variety ofreasons,including but not limited to:
                        (a)    Promoting and enhancing the prestige, reputation and position
  ofthe Caro Quintero DTO with respect to rival criminal organizations;
                        (b)    Preserving and protecting the power,territory and criminal
  ventures ofthe Caro Quintero DTO;

                       (c)     Enforcing discipline amongst its members and associates by

  punishing disloyalty and failure; and
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                        (d)     Protecting members ofthe Caro Quintero DTO from arrest and
   prosecution by silencing potential witnesses and retaliating against anyone who provided
   information or assistance to law enforcement authorities.

                                            COUNT ONE
                                 (Continuing Criminal Enterprise)

                 6.      The allegations contained in paragraphs one through five are realleged
   and incorporated as iffully set forth in this paragraph.
                 7.      In or about and between January 1980 and June 2018,both dates being

   approximate and inclusive, within the extraterritorial jurisdiction ofthe United States,the
   defendant RAFAEL CARO(QUINTERO,also known as "RCQ,""Cesar,""Don Rafa,"
  *Tlafa,""Bl Senor,""28,"'Rl,""Compa,"'R1 Hombre,""El Pleve,"'R1 Canoso,"'El
  Crespo" and "the Old Man"("RAFAEL CARO QUINTERO"),together with others, did
  knowingly and intentionally engage in a continuing criminal enterprise, in that the defendant
  RAFAEL CARO QUINTERO committed violations of Title 21,United States Code,
  Sections 848(e),952(a),959(a),960 and 963,including Violations One through Ten set forth
  below, which violations were part ofa continuing series of violations ofthose statutes
  undertaken by the defendant RAFAEL CARO QUINTERO,who was one ofseveral
  principal administrators, organizers and leaders ofthe continuing criminal enterprise,in
  concert with five or more other persons with respect to whom the defendant RAFAEL

  CARO QUINTERO occupied a position oforganizer,supervisor, and other position of
  management,and from which continuing series ofviolations the defendant RAFAEL CARO
  QUINTERO obtained substantial income and resources, and which enterprise received in
  excess of$10 million in gross receipts during one or more twelve-month periods for the
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    manufacture,importation and distribution ofheroin, cocaine, methamphetamine and
    marijuana. At least two ofthe violations involved at least 300 times the quantity ofa
    substance described in Section 841(b)(1)(B)ofTitle 21, United States Code,to wit: 150

   kilograms or more ofa substance containing cocaine and 15 kilograms or more ofa
   substance containing methamphetamine. The continuing series ofviolations, as defined by

 .. Title 21,United States Code, Section 848(c),includes Violations One through Ten set forth

   below:

                                          Violation One
                             (International Marijuana Distribution-
                          Approximately 4,900 Mograms of Marijuana)

                 8.     On or about February 21,2015, within the extraterritorialjurisdiction

   ofthe United States, the defendant RAFAEL CARO QUINTERO,together with others, did

   knowingly and intentionally distribute a controlled substance,intending and knowing that
   such substance would be unlawfully imported into the United States from a place outside

   thereof, which offense involved 1,000 kilograms or more ofasubstance containing

   marijuana,a Schedule I controlled substaace,in violation of Title 21,United States Code,
   Sections 959(a),960(a)(3),960(b)(1)(G)and 959(d), and Title 18, United States Code,

   Section 2.

                                          Violation Two
                              (Intemational Cocaine Distribution —
                           Approximately 500 Kilograms of Cocaine)

                 9.     On or about February 25,2015, within the extraterritorialjurisdiction

  ofthe United States, the defendant RAFAEL CARO QUINTERO,together with others, did

  knowingly and intentionally distribute a controlled substance, intending and knowing that
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   such substance would be unlawftiUy imported into the United States from a place outside

   thereof, which offense involved five kilograms or more ofa substance containing cocaine, a
   Schedule 11 controlled substance, in violation of Title 21,United States Code,Sections

   959(a), 960(a)(3), 960(b)(l)(B)(ii) and 959(d), and Title 18, United States Code,Section 2,
                                         Violation Three
                   (International Cocaine and Methamphetamine Distribution-
        Approximately 1.9 Kilograms ofCocaine and 22 Kilograms ofMethamphetanaine)
                 10.    On or about March 5,2015,within the extraterritorialjurisdiction ofthe

   United States, the defendant RAFAEL CARD QUINTERO,together with others, did

   knowingly and intentionally distribute one or more controlled substances,intending and
   knowing that such substances would be unlawfully imported into the United States from a
   place outside thereof, which offense involved(a)500 grams or more ofa substance
   containing cocaine,a Schedule U controlled substance, and(b)500 grams or more ofa
  substance containing methamphetamine,a Schedule U controlled substance,in violation of

  Title 21,United States Code, Sections 959(a),960(a)(3), 960(b)(1)(H),960(b)(2)(B)(ii) and
  959(d), and Title 18, United States Code,Section 2.
                                         Violation Four
                              (Intemational Cocaine Distribution-
                              More Than 5 Kilograms of Cocaine)

                11.    On or about October 15,2015, within the extraterritorialjurisdiction of

  the United States, the defendant RAFAEL CARO QUINTERO,together with others, did

  knowingly and intentionally distribute a controlled substance,intending and knowing that
  such substance would be unlawfully imported into the United States from a place outside

  thereof, which offense involved five kilograms or more ofa substance containing cocaine, a
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   Schedule 11 controlled substance,in violation of Title 21,United States Code,Sections

   959(a), 960(a)(3), 960(b)(l)(B)(ii) and 959(d), and Title 18,United States Code,Section 2.
                                          Violation Five
                              (International Marijuana Distribution)

                 12.    On or about December 24,2015, within the extraterritorialjurisdiction

   ofthe United States,the defendant RAFAEL CARD QUINTERO,together with others, did
   knowingly and intentionally distribute a controlled substance,intending and knowing that
   such substance would be unlawfully imported into the United States from a place outside

   thereof, which offense involved a substance containing marijuana, a Schedule I controlled
  ■ substance, in violation of Title 21,United States Code, Sections 959(a),960(a)(3),960(b)(3)
   and 959(d), and Title 18, United States Code, Section 2.
                                          Violation Six
                              (Intemational Cocaine Distribution-
                           Approximately 1,000 Kilograms of Cocaine)

                 13.    On or about June 11,2016, within the extraterritorial jurisdiction ofthe

   United States, the defendant RAFAEL CARD QUINTERO,together with others, did

   knowingly and intentionally distribute a controlled substance,intending, knowing and having
  reasonable cause to believe such substance would be unlawfully imported into the United

   States from a place outside thereof, which offense involved five kilograms or more ofa
  substance containing cocaine,a Schedule II controlled substance,in violation ofTitle 21,
  United States Code,Sections 959(a),960(a)(3), 960(b)(l)(B)(ii) and 959(d), and Title 18,

  United States Code, Section 2.
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                                          Violation Seven •
                               (Intemational Cocaine Distribution-
                            Approximately 1,000 Kilograms of Cocaine)

                 14.    In or about July 2016, within the extraterritorialjurisdiction ofthe

   United States, the defendant RAFAEL CARO QUINTERO,together with others, did
   knowingly and intentionally distribute a controlled substance,intending, knowing and having
   reasonable cause to believe such substance would be unlawfully imported into the United

   States from a place outside thereof, which offense involved five kilograms or more of a
   substance containing cocaine, a Schedule 11 controlled substance, in violation of Title 21,
   United States Code,Sections 959(a),960(a)(3),960(b)(l)(B)(ii) and 959(d), and Title 18,

   United States Code, Section 2.

                                          Violation Eight
                              (Intemational Marijuana Distribution-
                            More Than 1,000 Kilograms of Marijuana)

                 15.    On or about October 6,2016, within the extraterritorialjurisdiction of

   the United States, the defendant RAFAEL CARO QUINTERO,together with others, did
   knowingly and intentionally distribute a controlled substance,intending, knowing and having
   reasonable cause to believe such substance would be unlawfully imported into the United

   States from a place outside thereof, which offense involved 1,000 kilograms or more ofa
  substance containing marijuana, a Schedule I controlled substance, iii violation of Title 21,
  United States Code,Sections 959(a), 960(a)(3),960(b)(1)(G)and 959(d), and Title 18,
  United States Code, Section 2.
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                                          Violation Nine
                              (International Cocaine Distribution—
                           Approximately 2,000 Kilograms ofCocaine)

                 16.    On or about December 2,2016, within the extraterritorialjurisdiction

   ofthe United States,the defendant RAFAEL CARD QUINTERO,together with others, did
  knowingly and intentionally distribute a controlled substance,intending, knowing and having
  reasonable cause to believe such substance would be unlawfully imported into the United

  States from a place outside thereof, which offense involved five kilograms or more ofa
  substance containing cocaine, a Schedule 11 controlled substance,in violation ofTitle 21,
  United States Code,Sections 959(a),960(a)(3), 960(b)(l)(B)(ii) and 959(d), and Title 18,
  United States Code, Section 2.

                                          Violation Ten
                       (Murder Conspiracy-Persons Who Posed a Threat
                                   to the Caro Quintero DTO)

                17.    In or about and between January 1980 and June 2018,both dates being

  approximate and inclusive, within the extraterritorialjurisdiction ofthe United States, the
  defendant RAFAEL CARO QUINTERO,together with others, while engaged in one or more

  ofrenses punishable under Section 960(b)(1)ofTitle 21 Ofthe United States Code,to wit: the
  crimes charged in Counts Two and Three, did knowingly and intentionally conspire to kill
  and cause the intentional killing of one or more persons,to wit: persons who posed a threat to
  the Caro Quintero DTO,and such killings did result, contrary to Title 21,United States
  Code,Section 848(e)(1)(A),in violation ofTitle 21,United States Code, Section 846.
                (Title 21j United States Code,Sections 848(a),848(b)and 848(c); Title 18,
  United States Code, Sections 3238 and 3551^^.)
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                                            COUNT TWO
                          (International Marijuana Distribution Conspiracy)

                   18.    The allegations contained in paragraphs one through five are realleged

    and incorporated as iffully set forth in this paragraph.
                   19.    In or about and between January 1980 and June 2018,both dates being

    approximate and inclusive, within the extraterritorialjurisdiction ofthe United States, the
    defendants RAFAEL CARD QUINTERO,also known as "RCQ,""Cesar,"'T)on Rafa,"

    "Rafa,""El Senor,""28,""Rl,""Compa,""El Hombre,""El Pleve,""El Canoso," **E1
    Crespo" and "the Old Man,"ISMAEL QUINTERO ARELLANES,also known as'Tierro,"




                    together with others, did knowingly and intentionally conspire to

   manufacture and distribute a controlled substance,intending, knowing and having reasonable

   cause to believe that such substance would be unlawfully imported into the United States

   from a place outside thereof, which offense involved a substance containing marijuana, a
   Schedule I controlled substance, contrary to Title 21,United States Code,Sections 959(a)

   and 960(a)(3). The amount ofmarijuana involved in the conspiracy attributable to each
   defendant as a result ofhis own conduct, and the conduct of other conspirators reasonably

   foreseeable to him, was at least 1,000 kilograms or more ofa substance-containing

   marijuana.


                 (Tide 21, United States Code,Sections 963,960(b)(1)(G)and 959(d); Title 18,
   United States Code,Sections 3238 and 3551 et seq.)
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                                          COUNT THREE
          (International Heroin, Methamphetamine and Cocaine Distribution Conspiracy)
                  20.    The allegations contained in paragraphs one through five are realleged

   and incorporated as iffully set forth in this paragraph.

                  21.    In or about and between February 2015 and June 2018,both dates

   being approximate and inclusive, within the extraterritorialjurisdiction ofthe-United States,
   the defendants RAFAEL CARD QUINTERO,also known as'TICQ,""Cesair,""Don Rafa,"

   *Rafa,"'El Senor,""28,""Rl,""Compa,"'El Hombre,""El Pleve,""El Canoso,"'El
   Crespo" and "the Old Man,"ISMAEL QUINTERO ARELLANES,also known as'Tierro,"




                   logether with others, did knowingly and intentionally conspire to
   manufacture and distribute one or more controlled substances, intending, knowing and

   having reasonable cause to believe that such substances would be unlawftilly imported into
   the United States from a place outside thereof, which offense involved:(a)a substance
   containing heroin, a Schedule I controlled substance;(b)a substance containing cocaine, a
   Schedule n controlled substance; and(c)a substance containing methamphetamine,a

   Schedule II controlled substance, contrary to Title 21,United States Code, Sections 959(a)

   and 960(a)(3). The amount of heroin involved in the conspiracy attributable to each
   defendant as a result of his own conduct, and the cdnduct ofother conspirators reasonably

  foreseeable to him, was at least one kilogram or more ofa substance containing heroin. The
  amount ofcocaine involved in the conspiracy attributable to each defendant as a result ofhis
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    own conduct, and the conduct ofother conspirators reasonably foreseeable to him, was at
   least five kilograms or more ofa substance containing cocaine. The amount of
    methamphetamine involved in the conspiracy attributable to each defendant as a result of his
   own conduct, and the conduct ofother conspirators reasonably foreseeable to him,was at
                            •s




   least 500 grams or more ofa mixture or substance containing methamphetanoine.
                  (Title 21,United States Code,Sections 963,960(b)(1)(A),960(b)(l)(B)(ii),
   960(b)(1)(H)and 959(d); Title 18,United States Code,Sections 3238 and 3551M mO
                                           COUNT FOUR
                        (Use ofFirearms in Furtherance ofDrug Trafficking)

                  22.    The allegations contained in paragraphs one through five are realleged

   and incorporated as iffixlly set forth in this paragraph.
                  23.    In or about and between January 1980 and June 2018,both dates being

   approximate and inclusive, within the extraterritorialjurisdiction ofthe United States,the
   defendants RAFAEL CARO QUINTERO,also known as "RCQ,""Cesar,""Don Rafa,"
   "Rafa,""El Senor,""28,""Rl,""Compa,""El Hombre,""El Pleve,""El Canoso,"'El
   Crespo" and "the Old Man,"ISMAEL QUINTERO ARELLANES,also known as "Fierro,"




                    together with others, did knowingly and intentionally use and carry one or

   inore firearms, during and in relation to one or more drug trafficking crimes,to wit: the
   crimes charged in Counts One through Three, and did knowingly and intentionally possess


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    such firearms in furtherance ofsaid drug trafficking crimes,one or more of which firearms

    was brandished and discharged.

                  (Title 18, United States Code, Sections 924(c)(l)(A)(i), 924(c)(l)(A)(ii),

    924(c)(l)(A)(iii),2,3238 and 3551^seg.)

                               CRtMINAL FORFEITURE ALLEGATION
                                         AS TO COUNT ONE


                  24.     The United States hereby gives notice to the defendant charged in

    Count One that, upon his conviction ofsuch offense,the government will seek forfeiture in
    accordance with Title 21,United States Code, Section 853(a), which requires any person

   convicted ofsuch offense to forfeit:(a)any property constituting, or derived from,any

   proceeds obtained directly or indirectly as the result ofsuch offense;(b)any property used, .
   or intended to be used,in any manner or part, to commit,or to facilitate the commission of,

   such offense; and(c)any ofhis interest in, claims against, and property or contractual rights
   affording a source ofcontrol over the continuing criminal enterprise.

                  25.    Ifany ofthe above-described forfeitable property, as a result ofany act

   or omission ofsaid defendant:

                         (a)     cannot be located upon the exercise of due diligence;
                         (b)     has been transferred or sold to, or deposited with, a third party;

                         (c)     has been placed beyond the jurisdiction ofthe court;

                        (d)      has been substantially diminished in value; or

                        (e)      has been commingled with other property which cannot be

   divided without difficulty;

   it is the intent ofthe Uriited States, pursuant to Title 21,United States Code, Section 853(p),
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   to seek forfeiture of any other property ofsaid defendant up to the value ofthe forfeitable

   property described in this forfeiture allegation.
                 (Title 21,United States Code, Sections 853(a)and 853(p))
                              CRIMmAL FOIO^ErrUM ALLEGATION
                                AS TO COUNTS TWO AND THREE


                 26.     The United States hereby gives notice to the defendants charged in

   Counts Two and Three that,upon their conviction ofeither such offense, the government will

   seek forfeiture in accordance with Title 21,United States Code, Sections 853(a)and 970,

   which require any person convicted ofsuch offenses to forfeit:(a)any property constituting,

   or derived from,any proceeds obtained directly or indirectly as the result ofsuch offenses,

   and(b)any property used, or intended to be used,in any manner or part, to commit, or to
   facilitate the commission of, such offenses.

                 27.    If any ofthe above-described forfeitable property, as a resxilt ofany act

   or omission ofthe defendants:

                        (a)     cannot be located upon the exercise of due diligence;

                        (b)     has been transferred or sold to, or deposited with, a third party;

                        (c)     has been placed beyond thejurisdiction ofthe court;

                        (d)     has been substantially diminished in value; or

                       (e)      has been commingled with other property which cannot be

  divided without difficulty;




                                                  14.
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    it is the intent ofthe United States, pursuant to Title 21,United States Code,Section 853(p),

    to seek forfeiture of any other property ofthe defendants up to the value ofthe forfeitable

    property described in this forfeiture allegation.
                  (Title 21,United States Code,Sections 853(a), 853(p)and 970)
                               CRIMINAL FORFEITURE ALLEGATION
                                        AS TO COUNT FOUR.


                  28.     The United States hereby gives notice to the defendants charged in

    Count Four that, upon their conviction ofsuch offense,the government will seek forfeiture in
    accordance with Title 18,United States Code,Section 924(d)(1)and Title 28, United States

    Code,Section 2461(c), which require the forfeiture of any firearm or ammunition involved in

   or used in any knowing violation of Title 18, United States Code, Section 924.
                  29.    If any ofthe above-described forfeitable property, as a result ofany act

   or omission ofthe defendants:

                         (a)     cannot be located upon the exercise ofdue diligence;

                         (b)     has been transferred or sold to, or deposited with,a third parly;

                         (c)     has been placed beyond the jurisdiction ofthe court;

                         (d)     has been substantially diminished in value; or

                         (e)     has been commingled with other property which cannot be

   divided without difficulty;




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    it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p),

    to seek forfeiture of any other property of the defendants up to the value of the forfeitable

    property described in this forfeiture allegation.

                  (Title 18, United States Code, Section 924(d)(1); Title 21, United States Code,

    Section 853(p); Title 28,United States Code, Section 2461(c))




                                                                    A TRUE BILL




                                                                          PERSON



                    'ft
               [0GHUE\]
   RICHARD P.DONOGHUE
   UNITED STATES ATTORNEY
   EASTERN DISTRICT OF NEW YORK




                                                  16
F.#2015R00471/OCDBIT#NYNYE-777
FORMDBD-34                       No.
JUN.85



                                        UNITED STATES DISTRICT COURT
                                                     EASTEBN District of NEW YORK
                                                               CRIMINAL DIVISION
                                              THE UNITED STATES OF AMERICA
                                                                          vs.
                                                                                                            Case 1:15-cr-00208-FB




                                                            RAFAEL CARD QUINTERO,et^

                                                                                               Defendant


                                               SUPERSEDING INDICTMENT
                                  (T. 18,U.S.C.,§§ 924(c)(l)(A)(i),924(e)(l)(A)(u), 924(c)(l)(A)(iii),
                                                                                                            Document 57




                                  924((r)(l),3238,2 and 3551^seg.; T.21,U.S.C.,§§ 848(a),848(b),
                                        848(c), 853(a),853(p),959(d), 960(b)(1)(A), 960(b)(l)(B)(ii),
                                      960(b)(1)(G),960(b)(1)(H),963 and 970; T. 28, U.S.C. § 2461(c))
                                                                                                            Filed 02/07/20




                                                       y              ^

                                 Filed in open court this                       day,
                                 of                          AjD.20


                                                                                                    Clerk



                                 Bail, $



                                   Gina M,Parlovecchio,MichaelP.Robotd and G.Karthik Srinivasan,
                                                       Assistant U,S. Attorneys(718)254-7000
                                                                                                            Page 17 of 17 PageID #: 365
